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[N TH.E (IIRCUIT (_“.(}l_lR'l` (`)l+` 5[`1`Nl“i`li(')Wli11"l Cl`_)UNTY». M`I.SSISS[P];"I

Edward 1`}a10n, Surviving Spuuse F`§ L §;“D
and Administrator uf the Estatc t)i' ““”“

 
 

Judy L. I)alon, l`)i-.\.caasad,, jim 15 2 ?H?§
Plsintiff, SHAH`* .» assets

vs Causs `Nu. go §"" Q13Lf
Jl_JRY DEMAN`DEI)
Ru|evillt\. l1"»1\11"sing and l`{shabilitatiun

flier\tm‘, ll..ls(f.`,

I)a'l`t=:ndant.

 

F’LAI`N'I"l"IF`l`+`"E-i COMPLAINT FO`R I’ERSONAL [.N.I`U`R l.I`ES, `Mlt`.l`ll(`.‘Al.s
MALPRA(T.TICE, AND WR()NG!¥"UL DEATH

COMj`iiiS `N`OW Plaintift`l£dward Dalc)u, Sul‘vi'ving Sipc)usa and Ad.rninistratt)r c)‘f;`tlu: fistata 01;`
Judy L. 11`)a10n, ij§Z|ect:a.s'sd, and sues Dc:t`enda.nt 11 ult':vil.le Nursing and Rahal')iiitatit)n Cft:ntt':t, IZ.JI`\.,(_`.‘. ‘l"t')r
parsunal injuries, medical tnaljpractica, and wrongful death Fur said cause t){j`acti<‘)n_, 1’1£-1.i'ntii1`W0uId
stats tn the (,Ir,)urt as t"u}lt)w's:

I. J`I`J`RI'SDI.CTI(`\)N ANI) PA R'I"IES

l , `Plaintii`i" E,dward Dala'n (“Plaintift"" or “Mr. `[`)ait)li”`) is an adult rasidant citizen u‘fi`tht:
State of M`ississippi. Mr. ].)z\.ltili is the surviving husband di'.` .1udy 1 1`);-11<)11, deceased f-\t all
pertinent timss_, I'Ec:iward Dalc_)n and J`udy 1. Dalc)n Wai‘a husband and wit`a.

2. Tht: .Estata 01`1 tidy 1`_.,. 1_`)a.1an, Dscaasad, has bean opened in the C`iia.n<;:t':ry (_"fuurl‘. n‘IZ`
Sunii`lowc:r Cfc>unty, Mississippi. Ssa attached IEshibits l (`(`)tdar (`.`Jpanin[g `I`§istate, Authc;n'iz.iug
Appc)intrnant of \A dtnii'iisti‘ator) and 2 (Lt:ttci‘s 01" Adminisl.rz'il.iun). .Mr. I`\`)alc)n brings suit
individually and as adrninisti“atc;)r tif`t]ia Estatt: af Judy L. 11)aion, Dec:t:asad.

3. "l`ha dccadant, .l`ud.y L. ]`_)alnn disd on luna 1(), 201.3.

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4. l\)et`endant Ru\leville `l.‘~l u.rsing and .Rehabi l.itation C.`enter, 1...1\1(`.`.1 (“Ruleville l.‘~lursing and
l`t.ehabilitation”) is a M`ississippi limited liability company It owns, operates, manages, and
administers the nursing home facility located at 800 Sta.nsel [)rive, R.u]eville, l\/iississippi 387711
Rulcyille ll.`~lursing and `I{ehabilitation, at all times relevant herein, Was conducting and d<iiing
business in Sunt`lower C-ounty, |‘\/l`ississippi., where patients/resii'lents Werc treated and cared 'l."or. lt
ina y bc served 'with process through its registered agent__, l,lnited Corporate Services, linc., 401 l;iast
C.`.a.pitt)l 100-1`\/|1, lieritage llti.ilding, .lacl\'.son._, l\/.lississ.ippi 39201..

5. Ruleville `.N`ursing and Rel.iabilitatiij)n has nurses_, physicians, administrzn:ors,
dieticians, aides_, orderiies, therapists, agents and/or employees that act t`or and on its behalf in the
operation ot`said nursing horne facility While caring 'l`or and treatingl the decedents the tortious acts
and omissions of said nurscs, physicians, adrriinistrato'rs, dicticians, ai.d.es, orderliesJ l'.herapists,
agents and/or employees Were in connection With their duties at Ruleville `Nursin g and
Rehat?)ilitation, and they were acting within the scope ol` their employment and/or agency. Rulcvillc
N`ursing and Rehabilitation is thus legally responsible and vicariously liable for the negligence ojt`
said persons pursuant to respondeat superior and agency princi{.)les.

o. Venue and jurisdiction are proper in this action in that Plaintit`i""`s claim arises out of
the negligent acts and/or omissions ot` Det`endant and its agents/employees, all ol"which i;)cctrrred in
Sunt`lower County, .M`ississippi.

7_ "I.`his CJourt has properjurisdiction and venue over this action and the parties heretol
'l`his lawsuit is timely titled pi.irsuant to applicable Mississi ppi law.

ll. 1’lztiiitift`li.zi.s complied with the provisions ot`l.\/liss, C`,`ode Ann. § 15“1~36 by mailing

Written notice ol" claim to [.)et`endz`,tnt (:at the address t`or its registered agent t`or service ot` process and

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its current business address)_., which notified chfendant o‘["l’laintit"lj“s intention to tile this Wrol'tgl"ul
death lawsuit regarding the death ol"his wit`e, Judy 1.,_ [[)alon_, on or about June 10, 2013. lies lli':»th.ibit
3.

9. l"laintit`t"lias timely complied with the notice requirements o‘t`Miss. t.`_`,ode Ann. § 15*~
1~36 by giving written notice ot` claim to .[)etendant at least sixty (60) days prior to tiling this
complaint

10. I-’laintifl:` brings this lawsuit against `Detendant pursuant to the provisions of the
M`ississippi wrongful death statute, Miss. (.`.`.ode A.nn. § l `l-7-1.3, for the wrongful death of his wife1
J`udy L. lj)alon, on .lune `|0, 2013. l:"'lttintil.il” is entitled to recover any and all damages rccoveral‘)lc
under Miss. Code Ann. § l 1~7~111, including those damages recoverable individually and on behalf
ofthe Est.ate of .ludy 11. l`)alon, deceased 'This cause is brought in two counts, one on behalf of the
listate of .ludy L. Dalon, dcceased, and the second count for the damages recoverable by the
decedent“s survivor_, l'.Vl`r. Dalon.

`[`l. FAC.`.TUAL ALLE(}A'I`IONS

1 1.. l\/l.rs. `f`_`)alon was admitted to Ruieville .N`ursing and Rehabilitation Center on or about
March ]9, 2013. Sihc was 57 years old_

12. .Mrsi [)alori presented with depressive disorder, hypothyroidism, heart di.~jiet-u.ee:l
Chorea associated with limitingtcnt’s [)isease, cognitive iml.iairtnent related to short and long term
memory det`icit_, and impaired decisi on~ntak`.ing and commindication .‘_".lhe was noted upon a'tdrnission
to be alert, but disoriented, forgett`t.il, and confused tribe Was placed on a regular, no added salt diet
with no 'lluid restrictions '1"he care plan indicated that the prospective approach would beto offer

simple cl.ioices with daily decisions_; observe for changes in cognitive status; use short, direct phrases

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when cominunict-iting; and provide l\/l`rs. Dalon with cues and rerniriders needed to assist with her
i'neinory and i‘.irientation_

13. l[`Juring her previous stay at Cleveland l‘~lursing and Rehabilitation tilenter in February
and March o'l`2013, M`rs. l)alon had been placed on a puree diet with no added salt and later changed
to mechanical soft diet

l 4. Frorn Mfarch 2()»3 l , 2013, l;`{uleville ll’.‘~lu rsin g and Relialii l'itation noted that l\/l.rs. I.Jalon
refused to eat her mealsl

l 5. (_`)n April. 9, 2013, Mrs. l`_)al on was noted to be demonstrating decreased mental status
l-ler pupils were dilatcd with slow response ()rders were given to transfer Mrs. l.)alon to lblorth
Suntlower Medical C`.enter for evaluation

161 (`.`)n April 10, 2013, Mrs. [)alon returned to Ruleville Nursing and lliti-:l'ialn`litation.
()n that date_, it was noted that Mrs. 1_)alon was receiving a rcgular, no added salt diet i:`-ler appetite
Was noted to vary according to her behavior.

17. ftj)n A.pril 15, 20`13, lVlrs. [)alon was noted to be observed mostly in a catatonic state
related to depressive disordcr. l'~l.er cognitive status and long and short term memory were noted to
be impaired lt was note that she resisted care at times and could be verbally/physically aggressive
.l§-l.er appetite was noted to vary,

ll`!l4 ()n May 9, 2013, a nutritional re»evaluation was peril`ornied. Mrs. Dalon was noted to
have a diagnosis oli"psychosis. it was related that she had said in her interview that “Ciod told me to
come here and not to *.at.” lt was noted that she might need a psychiatric evall.iation to alter her
medicationsl

19. C)n May 14, 2013, ivlrs. Dalon was noted lobe ina catatonic state at times related to

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her depressive disorder. fi`\he was noted to be sharing out the window for long periods of time. tier
cognitive status and long and short term memory were noted to be impaired lit.epetitive movements,
crying episodes, and unpleasant n'n.)od were noted. ller appetite was noted to vary. Mrs. .[)a.lon was
also noted to resist/refuse care at times.

20. fin the morning of May liii, 201`3, Mrs. l`)alon tilted her Wheelcl'iair back and then
over. She suffered a superiicit-il break in the skin on the bacl<l ol" her head1 which resulted in
bleeding. '1"he physician was notified and he ordered neuro checl<js.

21. (`..ln the morning ol"l\/lay l t‘l, 2013, Mrs. li.`)al.on was found sitting in her wheelchair in
'l."ront ot`the shower. She was noted to have suffered a grand mal seiaure with facial twitcl'iing and
jerl<.ing in her arms and legs. M`rs. l`.`)alon was placed in her bed, but continued to suffer seizuresl
Orders were given to transfer l.\/lrsi l)alon to North Sunl;'lower l\/.ledical t`fenter for evaluatiii)n. She
returned to l`ttileville `l‘~lursing and Rel'iabilitation later that aljlernor,)n,

22. t`_)n l\/lay 21., 2013, .Mrs. Dalon suffered bruising to her right shoulder and abrasions to
her right forearm and clbow. M.rs. Dalon fell that morning, altl'njiugh she did not recall the details
thereofl She was noted to be eornbative with redirection needed

23. C)n l\/lay 25, 20_, 29, and 30, 2013, l\drs. 1)alon ate none o'l`her solid :l"oods.

24. [)uring the course ol` her eating dinner on the evening ot`]une 5, 2013, Mrs. Dalon`s
head was noted to be droopin g down slowly in her wheelchair, with pale skin and cyanotic lips.
Mrs. Dalon was tn'iresponsive with no vital signs. Abdomcn. thrusts were started, but no food was
expelled CIode Was called and an ambulance was noti'l'ied. Mrs. ljalon was taken to her room and
placed in the supirie position on the bed. tribe was thereafter placed on a stretcher and transferred to

North St.tntlc_iwer l\/ledical Center.

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25_ l`vlrs. f)alon was transferred later that night to l])clta ltegitnial .l\/ledical C`.ei'iter via
ambi.ilance. lt was noted in the hospital record that she had been `l;`ound slumpcd over and had
aspirated ona hot dog. She presented in cardia ". arrest (onset three hours prior) with initial cardiac
rl'iythmasystole. Shc had already been intul.iated. tribe remained disoriented and unresponsive lillie
was placed on a ventilator.

26. Mrs. 1)alon was transferred to the tlniversity of M[ississippi l\/ledicall Center
(“`tll.\/l`.l\/l.t`ff”) on .lu.ne ti, 20`13, status post~card.iac a.rrest. She was presumed to have aspirated on a hot
dog the evening before. U pon admission, she was noted to be without papillary response or gag
retle>t. She was placed on ventilator support at Ul.\/|l.MCl, The prognosis was noted to be very poor.

2?. "1`he UM.M§C record notes that the arrest was witnessed and that there was a down
time of approximately two minutes before C`.PR_ was initiated lt was also noted that she had
remained asystolc before a pulse was recovered It was unclear how long she had remained
pulseless. 'l."he UMMC record further notes that Mr. f)alon had spoken with his wife approximately
two hours prior to the cholt.in.g incident

2 lil. C)n J`une 1, 2013, lM rs. Dalon underwent an MRI ofthe brain at UMMC. rl`he ii ridings
were compatible with anoitic brain injury, including exaggeration of the normal gray~white
differentiation on diffusion weighted images and increased signal on diffusion weighted images.

29. ()n june 10, 2013_, an x~ray of Mrs. f)al.on’s chest showed an interval increase in
bilateral perihilar airspace opacities and interstitial prominence ‘l_`avored to represent worsening
pulmonary ederna. A left pleural effusion was suspected

301 (_)n the evening of J`une 10_1 2013, l'vlrs. l.`)alon died following estimation at l.lMMC`..

"I"hc certificate of death listed the cause o.t` death as cardiac arrest due to hypoxic respiratory failure

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and aspiration pneumonia/pneumonitis. flee l§ix, 4.

31.

`l"l`l. N 111 G I;.IC.} ENC‘ E

`l-’laintiff alleges that f)etcndant, instituti.<_mally sand acting by and through its nurses,

physicians, adminii‘itratorsg dieticians, aldes, orderlies, tl'ierapists, agents andfor employees was

negligent in 't`ailing to adhere to the standard t_:»t`care expected and required of nursing home facilities

in this jurisdiction under the same or similar circumstances Such medical negligence includes, but

is not limited to, the following acts and omissions:

(a)

(b)

(0

(s)
(11)

allowing the decedent to eat solid food, including a hot dog, given her known mental
status and preexisting conditit.nts1 which included, without limitation1 severe
cognitive impairment, disorientati<j)n, memory delicit_, and psychotic d'isorder, and the
associated choking hazards;

implementing a regular, solid food diet for the decedent given her known mental
status and pre-existing ci')nditions_, which included., without `lin'iitt-ition,l severe
cognitive impairment, disorientation, memory delici‘t, and psychotic disord.er, and the
associated eliciting haaards;

allowing the decedent to eat solid food, including a hot dog, given the common
knowledge that hot dogs should not be served to nursing home residents given the
significant danger of choking and aspiratii;)n;

implementing a regular, solid food diet for the decedent given the common
knowledge that hot dogs should not be served to nursing home residents given the

significant danger of choking and aspirati<;)n;

it"ail.ing to appro}_n'iately train, supervise., and monitor its agents and employees with
respect the implementation of appropriate diets for residents such as the decedent;

failing to implement appropriate policies and procedures with respect to when a solid
diet is inappropriate for residents with pre-existing conditions such as the dccedent;

failing to appropriately monitor the decedent while she was eating solid toods;,
failing to provide the decedent with basic and necessary care and supervision;

failing to exercise reasonable care under the circinnstances; and

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(j) such other negligent acts and omissions as may be proven at trial.

'l"hat each ol`the ali`)resaid negligent acts and/or t.m'iissions ot'l.)c‘.l"endant, both institutionally
and through it nurses, physicians ad ministrz-i.t.orsl1 dictieians, aides, orderlies, therapists, agents and/or
cmployee, directly and proximately caused severe personal injuries to lvlrs. l`_`)alon, and ultimately
her death.

32. To the extent that l;’laint'ifl"’s claims arc deemed to be based on common law
negligence and not medical malpractiec, l§*laintii"l" is entitled to recover l"or all of the damages
allowed under applicable lvlississippi common law and/or Mississippi tort law.

.[V. I)A.M`A(`§`ES

33. fl’laintil"li` is entitled under the M.ississippi wrongful death statutc, lvliss“ C`Iodc Ann. §
ll-7»l'.i», to bring these claims against lj)el"endant, and to recover any and all damages t`or the
d.ecedent`s wrongful death as provided l`or therein.

34. As a direct and proximate result ot`the negligence, malpractiec, wrongful acts and/or
omissions ot` li)el"endant, institutionally and by and through its nurses, physicia'ns, administrators_,
dieticians, aides, orderlies, therapists, agents and/or employees, lVl:rs. l)alon su'l:`l"ered, without
limitation, cardiac arrest, brain injury, a painful and intrusive hospitalization physical pain and
sut`fcring, mental pain and sut"'t`ering, severe emotional distress, and ultimately the loss other life.

3 5. .A.s a direct and proxitni-ite result oi`thc negligence malpractiee, wi.'ongtul acts and/or
omissions ot` 'I)eli-:ndant, institutio'nally and acting by and th.rougl:i its nursesJ physicians,
administrators dieticians, aides, orderlies, therapists, agents and/or employees, I’laintil"lh lost the
love, al’l"cction, coint`ort, and companionship oi` his wi.[`e. l?lair'itifi" is thus entitled to recover loss ot`

consortium damagos.

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3d l`i)eli`ei'icl.ai‘it is liable to l"lainti'i`l` t`or ali the compensatory damages which he is entitled
to recovery individually and on behalf ot` the decedent1 includ.ing, but not limited to; (a) the
decedcnt’s mental and physical pain, an.guish, and sui"'i`erin g prior to her dea.th; (_b) medical expen.ses',
(c) timera.l espenscs; (d) mental anguish t_»u.riil`ered1 and to be suit`erec.i in the t"uture, by lilaintii`t`; (c_)
loss o:l`consortiurn; (i) all other pecuniary inju.riei'r1 and (g) the net cash value oii`the life expectancy
ot` the decedent

37. .[’laintit"`l.ispccifically reserves the right to amend this cr_)mplaint and plead further in
this cause.

Wl'i`lfl"tEFOR.ti, l"REMlS.IEii C("_l`l\lSl`lf)`E`ltEl`.`), li’laintift`demand.s judgment, pursuant to Miss.
Code Ann, § l l-l~59, from the l`)el"endi-ints in an amount within the jurisd.ietir_\nal limits o li` this Court
and in excess ot"`the sum ot`tl$ l 0,()00.00, such amount to include, but net be limited to, compensatory
damages, prejudgment interest, and the costs ol"the t`_`.ourt.

Plaintifl`s demand a jury trial as to all issues in this case.

lies[)ect.iu.l ly Subn'titted,
l-?lliRC.I;-§l, I’C)RTER dc J (:)l`:lil‘~li`~l C)`l\l, PI.il_..CJ

§¥ML,/Z -

i_)avi Ltioodm..t\iii lr. (:l\/l`issi Biir l\i(§. 100365)

    
 

Attorneys l"or li’lainti'l`l"

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l"‘ursuant to lviiss. C`,od.e Ann. § l i- | -5ti(l l ), l do hereby cel'tii.`y' that l have reviewed the facts
ot` this case and consulted with at least one expert qualified pursuant to the l.\/lississippi Rules ol`
C`Jivil Procedure and the `Mississippi lit_ules ot` Evidence who is qualified to give expert testimony as
to standard o fi` care or negligence and who l reasonal:ily believe is lc.now|edgeal*)le in the relevant
issues involved in this particular action_, and l have concluded, on the basis ot` such review and
consultatir_m, that there is a reasonable basis i`or the commencement ol` this action.

a",-":-

ft

 

 

 

ill

